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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF OKLAHOMA

BRENAN COLE and RACHEL COLE,
AUSTIN HODGE and HANNAH HODGE,
                                                  Case No.: 22-CV-00044-R
       Plaintiffs,
v.                                                Judge David L. Russell

AMC WEST HOUSING LP, a foreign
limited partnership,
BALFOUR BEATTY COMMUNITIES, a
foreign limited company,
STEAMMART, LLC, an Oklahoma limited
liability company,
GREGG PETERSON CONSTRUCTION
GROUP LLC, an Oklahoma limited liability
company,
RICK CUNEFARE,
CC-1-CC10 Unindicted Co-Conspirators in
USA v.                RICK CUNEFARE
21-CR-319-EGS

       Defendants.

                             DISMISSAL WITH PREJUDICE


       Come NOW all Plaintiffs, by and through counsel of record, Caleb M. Salmon of the

AIZENMAN LAW GROUP and dismiss all claims against Rick Cunefare with prejudice to the re-filing

thereof.

                                           Respectfully submitted,

                                           s/Caleb M. Salmon

                                           Caleb M. Salmon, OBA No. 32272
                                           AIZENMAN LAW GROUP
                                           5800 E. Skelly Dr., Suite 575
                                           Tulsa, OK 74135
                                           P: 918-426-4878
                                           F: 918-513-6080
                                           caleb@aizenmanlaw.com
                                           Attorneys for Plaintiff
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing pleading was served via ECF, email, and/or first-

class mail on August 3, 2022 to the following:

   W. Brett Willis
   bwillis@jenningsteague.com
   JENNINGS | TEAGUE, P.C.
   204 North Robinson Avenue, Suite 1000
   Oklahoma City, OK 73102
   Attorneys for Balfour Beatty Communities LLC

   Richard Morgan
   richard.morgan@lewisbrisbois.com
   Carli D. Pearson
   carli.pearson@lewisbrisbois.com
   Kyle D. Nelson
   kyle.nelson@lewisbrisbois.com
   Matthew A. Beyer
   matthew.beyer@lewisbrisbois.com
   Tina Syring
   tina.syring@lewisbrisbois.com
   LEWIS BRISBOIS BISGAARD & SMITH
   90 South 7th Street
   Suite 2800
   Minneapolis, MN 55402
   Phone: (612)-428-5000
   Attorneys for Balfour Beatty Communities LLC


                                                       s/Caleb Salmon

                                                     Caleb Salmon




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